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                            THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    DISPLAY TECHNOLOGIES, LLC,
                    Plaintiff,
           v.                                             CIVIL ACTION NO. 2:24-cv-98

    VIVINT, INC.,
                                                          JURY TRIAL DEMANDED
                    Defendant.




                                             COMPLAINT
         Plaintiff files this complaint for patent infringement against defendant Vivint, Inc. for its
unlicensed use of its Smart Hub and similar products that on information and belief infringe two
patents:
         (1) Patent Claims 1, 2, 3, 5, 6, 7, 8, 9, 11, 17, 18, 19, 21, 22, 23 of U.S. Patent 8,671,195
                (“the ’195 Patent”)1 and

         (2) Patent Claims 11, 6, 8, 9, 12, 17, 19, 20, 22, 27, 30, 32, 37, 39, 42, 47, 49, 50 of U.S.
                Patent 9,300,723 (“the ’723 Patent”); and alleges as follows:
                                                PARTIES
         1.        Plaintiff is a Texas limited liability company with an office at 1 East Broward
Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
         2.        On information and belief, Defendant Vivint, Inc., has a business location in this
district 5212 Tennyson Pkwy Suite 150, Plano, TX 75024, among others in this State, and has
employees located throughout the state.
         3.        Venue is proper in the Eastern District of Texas as to Defendant pursuant to at least
28 U.S.C. §§ 1391 and 1400.

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  The expiration date is not until February 6, 2032, eight years from 2024, according to
independent, third-party Google Patents, as last visited on February 9, 2024.
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                               ACCUSED INSTRUMENTALITIES

        4.      Defendant makes, uses, offers to sell, or sells its Smart Hub and similar products,
without authority, within the United States or imports into the United States during the term of
the asserted patents infringe Claims 1, 2, 3, 5, 6, 7, 8, 9, 11, 17, 18, 19, 21, 22, 23 of the ’195 Patent
and Claims 1, 6, 8, 9, 12, 17, 19, 20, 22, 27, 30, 32, 37, 39, 42, 47, 49, 50 of the ’723 Patent.


                                              COUNT I

                       Infringement of United States Patent No. 8,671,195
        5.      Plaintiff refers to and incorporates the allegations in Paragraphs above, the same as
if set forth herein.
        6.      This cause of action arises under the patent laws of the United States and, in
particular under 35 U.S.C. §§ 271, et seq.
        7.      Defendant has knowledge of its infringement of the ’195 Patent (Exhibit 1), at least
as of the service of the present complaint.
        8.      Accordingly, Defendant has infringed and continues to infringe, the ’195 Patent in
violation of 35 U.S.C. § 271. Upon information and belief, Defendant has infringed and continues

to infringe one or more claims, including at least Claim 1, of the ’195 Patent by making, using,
importing, selling, and/or offering for sale, as identified in the Claim Chart attached hereto as
Exhibits 3.
        9.      Defendant also has and continues to directly infringe, literally or under the doctrine
of equivalents, Claims 1, 2, 3, 5, 6, 7, 8, 9, 11, 17, 18, 19, 21, 22, 23, of the ’195 Patent, by having
its employees internally test and use the Accused Instrumentalities.
        10.     The service of this Complaint, in conjunction with the attached Claim Chart
(Exhibit 3) and references cited, constitutes actual knowledge of infringement as alleged here.
        11.     Exhibit 3 includes Claims 1, 2, 3, 5, 6, 7, 8, 9, 11, 17, 18, 19, 21, 22, 23 of the ’195
Patent to exemplary Accused Instrumentalities. As set forth in this chart, the Accused


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Instrumentalities practice the technology claimed by the ’195 Patent. Accordingly, the Accused
Instrumentalities incorporated in this chart satisfy all elements of Claims 1, 2, 3, 5, 6, 7, 8, 9, 11,

17, 18, 19, 21, 22, 23 of the ’195 Patent.
       12.      Plaintiff therefore incorporates by reference in its allegations herein the claim chart
of Exhibit 3.
       13.      Plaintiff is entitled to recover damages adequate to compensate for Defendant’s
infringement.




Figure 1 – Excerpt from page 2 of Exhibit 3.




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Figure 2 – Excerpt from page 3 of Exhibit 3.




Figure 3 – Excerpt from page 4 of Exhibit 3.



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Figure 4 – Excerpt from page 5 of Exhibit 3.




Figure 5 – Excerpt from page 6 of Exhibit 3.


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Figure 6 – Excerpt from page 7 of Exhibit 3.




Figure 7 – Excerpt from page 8 of Exhibit 3.




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Figure 8 – Excerpt from page 9 of Exhibit 3.




Figure 9 – Excerpt from page 10 of Exhibit 3.


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Figure 10 – Excerpt from page 11 of Exhibit 3.




Figure 11 – Excerpt from page 12 of Exhibit 3.


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Figure 12 – Excerpt from page 13 of Exhibit 3.




Figure 13 – Excerpt from page 14 of Exhibit 3.


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 Figure 14 – Excerpt from page 15 of Exhibit 3.

        14.     Defendant’s actions complained of herein will continue unless Defendant is
 enjoined by this Court.
        15.     The ’195 Patent is valid, enforceable, and was duly issued in full compliance with
 Title 35 of the United States Code.
        16.     By engaging in the conduct described herein, Defendant has injured Plaintiff and is

 liable for infringement of the ’195 Patent, pursuant to 35 U.S.C. § 271.
        17.     Defendant has committed these acts of literal infringement, or infringement under
 the doctrine of equivalents of the ’195 Patent, without license or authorization.
        18.     As a result of Defendant’s infringement of the ’195 Patent, injured Plaintiff has
 suffered monetary damages and is entitled to a monetary judgment in an amount adequate to
 compensate for Defendant’s past infringement, together with interests and costs.
        19.     Plaintiff is in compliance with 35 U.S.C. § 287.


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         20.     As such, Plaintiff is entitled to compensation for any continuing and/or future
 infringement of the ’195 Patent up until the date that Defendant ceases its infringing activities or

 until expiration projected by Google Patents to be no earlier than February 6, 2032.
         21.     Defendant’s infringement is willful as it had knowledge of the patents through its
 Freedom to Operate analysis performed on information and belief.


                                               COUNT 2
               INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723

         22.     Plaintiff refers to and incorporates the allegations in Paragraphs above, the same as
 if set forth herein.
         23.     This cause of action arises under the patent laws of the United States and, in
 particular under 35 U.S.C. §§ 271, et seq.
         24.     Defendant has knowledge of its infringement of the ’723 Patent (Exhibit 2), at least
 as of the service of the present complaint.
         25.     Accordingly, Defendant has infringed and continues to infringe, the ’195 Patent in

 violation of 35 U.S.C. § 271. Upon information and belief, Defendant has infringed and continues
 to infringe Claims 1, 6, 8, 9, 12, 17, 19, 20, 22, 27, 30, 32, 37, 39, 42, 47, 49, 50 the ’723 Patent
 by making, using, importing, selling, and/or offering for sale, as identified in the Claim Chart
 attached hereto as Exhibits 4.
         26.     Defendant also has and continues to directly infringe, literally or under the doctrine
 of equivalents, claims 1, 6, 8, 9, 12, 17, 19, 20, 22, 27, 30, 32, 37, 39, 42, 47, 49, 50 of the ’723
 Patent, by having its employees internally test and use the Accused Instrumentalities.
         27.     The service of this Complaint, in conjunction with the attached Claim Chart
 (Exhibit 4) and references cited, constitutes actual knowledge of infringement as alleged here.
         28.     Exhibit 4 includes claims 1, 6, 8, 9, 12, 17, 19, 20, 22, 27, 30, 32, 37, 39, 42, 47,
 49, 50 of the ’723 Patent charted to the exemplary Accused Instrumentalities. As set forth in this

 chart, the Accused Instrumentalities practice the technology claimed by the ’723 Patent.


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 Accordingly, the Accused Instrumentalities incorporated in this chart satisfy all elements of Claims
 1, 6, 8, 9, 12, 17, 19, 20, 22, 27, 30, 32, 37, 39, 42, 47, 49, 50 of the ’723 Patent.

         29.     Plaintiff therefore incorporates by reference in its allegations herein the claim chart
 of Exhibit 4.
         30.     Plaintiff is entitled to recover damages adequate to compensate for Defendant’s
 infringement.
         31.     Defendant’s actions complained of herein will continue unless Defendant is
 enjoined by this Court.
         32.     The ’723 Patent is valid, enforceable, and was duly issued in full compliance with
 Title 35 of the United States Code.
         33.     By engaging in the conduct described herein, Defendant has injured Plaintiff and is
 liable for infringement of the ’723 Patent, pursuant to 35 U.S.C. § 271.
         34.     Defendant has committed these acts of literal infringement, or infringement under
 the doctrine of equivalents of the ’723 Patent, without license or authorization.
         35.     As a result of Defendant’s infringement of the ’723 Patent, injured Plaintiff has
 suffered monetary damages and is entitled to a monetary judgment in an amount adequate to
 compensate for Defendant’s past infringement, together with interests and costs.
         36.     Plaintiff is in compliance with 35 U.S.C. § 287.
         37.     As such, Plaintiff is entitled to compensation for any continuing and/or future
 infringement of the ’723 Patent up until the date that Defendant ceases its infringing activities.
         38.     Defendant’s infringement is willful as it had knowledge of the patent through its
 Freedom to Operate analysis performed on information and belief.
                                       DEMAND FOR JURY TRIAL
         39.     Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by
 jury of any issues so triable by right.
                                       PRAYER FOR RELIEF
         WHEREFORE, Plaintiff asks the Court to:


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        (a) Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;
        (b)      Enter an Order enjoining Defendant, its agents, officers, servants, employees,

 attorneys, and all persons in active concert or participation with Defendant who receives notice
 of the order from further infringement of Patents (or, in the alternative, awarding Plaintiff
 running royalty from the time judgment going forward);
        (c) Award Plaintiff damages resulting from Defendants infringement in accordance with
              35 U.S.C. § 284;
        (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law
 or equity.


 Dated: February 13, 2024                              Respectfully Submitted,

                                                       /s/ Randall T. Garteiser
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                                                       COUNSEL FOR PLAINTIFF




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